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   15    Properties, LLC
   16
                               UNITED STATES DISTRICT COURT
   17
                             CENTRAL DISTRICT OF CALIFORNIA
   18
   19    COLONY COVE PROPERTIES, LLC,              Case No. CV 14-03242 PSG (PJWx)
         a Delaware limited liability company,
   20                                              PLAINTIFF’S REVISED
                      Plaintiff,                   DISPUTED JURY INSTRUCTIONS
   21                                              AND VERDICT FORM (CLEAN
   22          v.                                  SET)

   23    CITY OF CARSON, a municipal               Judge: Hon. Philip S. Gutierrez
         corporation; CITY OF CARSON               Courtroom: 880
   24    MOBILEHOME PARK RENTAL                    Trial Date: April 28, 2016
         REVIEW BOARD, a public
   25    administrative body; and DOES 1 to 10,
   26    inclusive,

   27                 Defendants.
   28
                                                              PL’S REVISED DISPUTED JIS AND
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     1                                        INDEX
     2    NO.     TITLE                                     SOURCE                  PAGE NO.
     3
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     5
     6      3     Burden of Proof—Preponderance             9th Cir. 1.3                    2
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           14     Judicial Notice                           9th Cir. 2.3                    3
     9
   10                                                       O’Malley, Fed.
                                                            Jury Practice and
   11      20     Adverse Inference                         Instructions §§                 4
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   13
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   16      22     Official Policy—Elements and Burden of 9th Cir. 9.4                       6
   17             Proof
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   18                                                    Pratt, Section
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   19      23                                                                               8
                  Under 42 U.S.C. § 1983                 Instructions §
   20                                                    6.03.1; 9th Cir.
                                                         9.22
   21                                                    Schneider v.
                                                         Cnty. of San
   22      25     Prejudgment Interest                   Diego, 285 F.3d                   10
   23                                                    784 (9th Cir.
                                                         2002)
   24
   25             Verdict Form                                                             11

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     1   COURT’S INSTRUCTION NO. 2
     2   Claims and Defenses

     3         To help you follow the evidence, I will give you a brief summary of the
     4   positions of the parties:
     5
     6         Plaintiff Colony Cove Properties, LLC has one claim against Defendants
     7   City of Carson and City of Carson Mobilehome Park Rental Review Board.
     8   Plaintiff alleges that Defendants effected a taking of Plaintiff’s property without
     9   just compensation in violation of the Fifth Amendment to the United States
   10    Constitution and 42 U.S.C. § 1983. Plaintiff claims that Defendants abruptly
   11    changed their rent-control rules and deviated from pre-existing practices
   12    immediately after Plaintiff purchased its mobilehome park. Plaintiff claims that it
   13    reasonably expected that it would be able to obtain rent increases sufficient to
   14    generate income to maintain and operate its mobilehome park, including the
   15    payment of interest on its mortgage from General Electric Capital Corporation.
   16    Plaintiffs claim that Defendants’ change to the rules and practices forced Plaintiff to
   17    operate the mobilehome park at a multi-million-dollar loss for multiple years, and
   18    above all, interfered with what was a reasonable and distinct investment-backed
   19    expectation. Plaintiff has the burden of proving this claim.
   20
   21          Defendants deny this claim.
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     1   COURT’S INSTRUCTION NO. 3
     2   Burden of Proof—Preponderance

     3         When a party has the burden of proof on any claim by a preponderance of the
     4   evidence, it means you must be persuaded by the evidence that the claim is more
     5   probably true than not true.
     6
     7         You should base your decision on all of the evidence, regardless of which
     8   party presented it.
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     1   COURT’S INSTRUCTION NO. 14
     2   Judicial Notice

     3         The court has decided to accept as proved the fact of the historical
     4   performance of the S&P 500 stock market index from December 1, 2000, through
     5   December 1, 2014, attached hereto as Exhibit A, even though no evidence has been
     6   introduced on the subject. You must accept this fact as true.
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     1   COURT’S INSTRUCTION NO. 20
     2   Adverse Inference

     3         If a party fails to produce for deposition a person who has knowledge about
     4   facts in issue, and who is reasonably available to the party, and who is not equally
     5   available to the other party, after being properly served with a deposition notice,
     6   then you may infer that the testimony of that person is unfavorable to the party who
     7   could have produced the witness but did not.
     8
     9         Plaintiff properly served on Defendants a notice of deposition of Jim Dear,
   10    who was the City of Carson’s Mayor at the time of the rent applications at issue in
   11    this case and who was the City Clerk for Carson when Plaintiff served its
   12    deposition notice. Defendants were under a duty to produce Mr. Dear for
   13    deposition because, at the time, Mr. Dear was an employee of the City. Defendants
   14    failed to produce Mr. Dear for deposition.
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     1   COURT’S INSTRUCTION NO. 21
     2   Section 1983 Claim—Introductory Instruction

     3         The plaintiff brings its claim under the federal statute, 42 U.S.C. § 1983,
     4   which provides that any person or persons who, under color of law, deprives
     5   another of any rights, privileges, or immunities secured by the Constitution or laws
     6   of the United States shall be liable to the injured party.
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     1   COURT’S INSTRUCTION NO. 22
     2   Section 1983 Claim Against Local Governing Body Defendants Based on
         Official Policy—Elements and Burden of Proof
     3
     4         In order to prevail on its § 1983 claim against Defendants alleging liability
     5   based on an official policy, Plaintiff must prove each of the following elements by a
     6   preponderance of the evidence:
     7
     8         1.        Defendants acted under color of law;
     9
   10          2.        The acts of Defendants deprived Plaintiff of its particular rights under
   11    the United States Constitution; and
   12
   13          3.        Defendants acted pursuant to an expressly adopted official policy.
   14
   15          A person acts “under color of law” when the person acts or purports to act in
   16    the performance of official duties under any state, county, or municipal law,
   17    ordinance, or regulation. The parties have stipulated that Defendants acted under
   18    color of law.
   19
   20          “Official policy” means a rule or regulation promulgated, adopted, or ratified
   21    by Defendants City of Carson and City of Carson Mobilehome Park Rental Review
   22    Board. The parties have stipulated that Defendants acted pursuant to an expressly
   23    adopted official policy.
   24
   25          If you find that Plaintiff has proved each of these elements, and if you find
   26    that Plaintiff has proved all the elements it is required to prove under Court’s
   27    Instruction No. 23, your verdict should be for Plaintiff. If, on the other hand,
   28
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    1    Plaintiff has failed to prove any one or more of these elements, your verdict should
    2    be for Defendants.
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   1   COURT’S INSTRUCTION NO. 23
   2   Penn Central Regulatory Takings Claim Under 42 U.S.C. § 1983

   3
             In general, the government must compensate the owner of private property
   4
       when it requires a person or persons alone to bear public burdens which, in all
   5
       fairness, should be borne by the public as a whole. Whether a particular
   6
       governmental restriction on the use of property requires compensation by the
   7
       government depends largely upon the particular circumstances of the case.
   8
   9
             Under the Fifth Amendment, when the government takes a landowner’s
  10
       property, even if for a public purpose, the government is required to pay the
  11
       landowner just compensation. To prove Defendants effected a taking without just
  12
       compensation in violation of the Fifth Amendment, Plaintiff must establish by a
  13
       preponderance of the evidence that justice and fairness require that the economic
  14
       injuries caused by Defendants be compensated by the government, rather than
  15
       remain concentrated on the Plaintiff.
  16
  17
             In determining whether the government effected a taking in this case,
  18
       consider and balance all the circumstances in the case, including:
  19
  20
             1.     the character and extent of economic impact of Defendants’ action on
  21
       Plaintiff at the time of the Defendants’ action;
  22
  23
             2.     the extent and severity of the interference with Plaintiff’s reasonable,
  24
       investment-backed expectations;
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   1         3.     the character of the governmental action, and specifically if it forces
   2   some people alone to bear public burdens which, in all fairness and justice, should
   3   be borne by the public as a whole;
   4
   5         4.     the government interests served by Defendants’ actions, and whether
   6   the regulation is reasonably necessary to the effectuation of a substantial public
   7   purpose;
   8
   9         5.     the allocation of the burden among all taxpayers, i.e., whether a
  10   landowner has been singled out; and
  11
  12         6.     whether Defendants’ actions were politically motivated.
  13
  14         You may consider the actual, investment-backed expectations of the Plaintiff
  15   only to the extent they are “objectively reasonable” under all of the circumstances.
  16   In other words, you must judge the reasonableness of the Plaintiff’s expectations
  17   from the perspective of a reasonable investor in the Plaintiff’s position at the time
  18   of the investment and not with the 20/20 vision of hindsight.
  19
  20         No single factor is controlling and Plaintiff does not need to establish each of
  21   these factors to prevail. These are the relevant factors and circumstances that you
  22   should consider when deciding if Plaintiff has established by a preponderance of
  23   the evidence that a taking occurred.
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   1   COURT’S INSTRUCTION NO. 25
   2   Prejudgment Interest

   3
             In a takings case, the defendants are obligated to pay prejudgment interest as
   4
       part of the constitutionally required just compensation. Given the delay in time
   5
       between the taking and the payment of compensation following trial, prejudgment
   6
       interest is a measure that serves to compensate for the loss of use of money due as
   7
       damages from the time the claim accrues until judgment is entered, thereby
   8
       achieving full compensation for the injury those damages are intended to redress.
   9
  10
             To determine the appropriate rate of prejudgment interest when payment of
  11
       just compensation is delayed, you must examine what a reasonably prudent person
  12
       investing funds so as to produce a reasonable return while maintaining safety of
  13
       principal would receive. You should apply an interest rate based on evidence of the
  14
       rate that would be generated by investment in a diverse group of securities,
  15
       including treasury bills.
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   1                                    VERDICT FORM
   2         We, the jury empanelled in this case, answer the questions submitted to us as
   3   follows:
   4
   5   Regulatory Takings Claim
   6         1.     Did Defendants City of Carson’s and City of Carson Mobilehome Park
   7   Rental Review Board’s (collectively, “Defendants”) decisions with respect to
   8   Plaintiff Colony Cove Properties, LLC’s (“Plaintiff”) rent-increase application
   9   submitted in September 2007 (“Year 1”) and/or its rent-increase application
  10   submitted in September 2008 (“Year 2”) constitute a regulatory taking without just
  11   compensation in violation of the Fifth Amendment to the United States
  12   Constitution?
  13
  14   Answer:             YES ____                    NO ____
  15
  16   If your answer to Question 1 is YES, then answer Questions 2 and 3. If your
       answer to Question 1 is NO, stop here, answer no further questions, and have
  17   the presiding juror sign and date this form.
  18
             2.     What amount of just compensation, before prejudgment interest, is due
  19
       Plaintiff as a result of Defendants’ actions?
  20
  21
       Answer:             $_____________________
  22
  23
             3.     What prejudgment interest rate is Plaintiff entitled to?
  24
  25
       Answer:             _____________________%
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   1   (INSTRUCTION: You are now at the end of the verdict form. Please verify
   2   that you have answered all of the questions. If so, please have the presiding
       juror sign and date the verdict form and advise the [marshal] [bailiff] that you
   3   have reached a verdict.)
   4
   5
   6   DATED this _____ day of ___________________, 2016.

   7
   8                                 __________________________________
                                          Presiding Juror
   9
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   1
       Dated: April 28, 2016           Respectfully submitted,
   2
                                       GILCHRIST & RUTTER
   3                                   Professional Corporation
   4
                                                  &
   5
                                       O’MELVENY & MYERS LLP
   6
                                       By:   /s/ Matthew W. Close
   7                                         Matthew W. Close
   8
                                       Attorneys for Plaintiff
   9                                   Colony Cove Properties, LLC
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      2:14-cv-03242-PSG-PJW Document
                             Document219-8
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      2:14-cv-03242-PSG-PJW Document
                             Document219-8
                                      174-1 Filed
                                             Filed07/25/16
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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                                  #:6932
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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                                  #:6933
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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                                  #:6934
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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                                  #:6936
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     2:14-cv-03242-PSG-PJW Document
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                                          Filed07/25/16
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                                  #:6937
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
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                                          Filed07/25/16
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
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                                  #:6939
                                   #:4664




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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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                                  #:6941
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
                                    174-1 Filed
                                          Filed07/25/16
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                                  #:6942
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     2:14-cv-03242-PSG-PJW Document
                           Document219-8
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                                  #:6943
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     2:14-cv-03242-PSG-PJW Document
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                                  #:6944
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     2:14-cv-03242-PSG-PJW Document
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     2:14-cv-03242-PSG-PJW Document
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     2:14-cv-03242-PSG-PJW Document
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     2:14-cv-03242-PSG-PJW Document
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                                  #:6948
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     2:14-cv-03242-PSG-PJW Document
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     2:14-cv-03242-PSG-PJW Document
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                                  #:6951
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     2:14-cv-03242-PSG-PJW Document
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                                  #:6952
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                                  #:6956
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                                  #:6957
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                                  #:6972
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                                  #:6974
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                                  #:6975
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                                  #:6976
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                                  #:6977
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                                  #:6978
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                                  #:6979
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                                  #:6981
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                                  #:6983
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                                  #:6986
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                                  #:6987
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